Case 18-33025-jal   Doc 23
                        24   Filed 03/12/19   Entered 03/12/19 11:06:31
                                                               15:22:46        Page 1 of 1




                UNITED STATES BANKRUPTCY COURT
                 WESTERN DISTRICT OF KENTUCKY
                      LOUISVILLE DIVISION

IN RE:                                   )
                                         )
CURT E. LIEBMAN                          )    Chapter 7
                                         )
                    Debtor               )    Case No. 18-33025-jal
                                         )

                       ORDER DISMISSING
                  *********************************
      This matter came before the Court upon the Motion to Dismiss filed

by Paul A. Randolph, the Acting United States Trustee for Region 8 (the

“United States Trustee”). Due and appropriate notice having been given;

it appearing to the Court that the granting of relief to Curt E. Liebman

would be an abuse of the provisions of chapter 7; and the Court being

otherwise sufficiently advised;

      IT IS HEREBY ORDERED that this chapter 7 case is DISMISSED

pursuant to 11 U.S.C. § 707(b)(2).


TYLER R. YEAGER
                                                       Dated: March 12, 2019
U.S. DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
601 W. Broadway, Suite 512
Louisville, Kentucky 40202
(502) 582-6000
